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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                                    CASE NO.:

  DENISE PAYNE,

            Plaintiff,
  v.

  MARKETPLACE AT TAMARAC, LLC.,
  FORT LAUDERDALE CHOW TIME
  GRILL & BUFFET, INC., and
  ALTERNATIVE HOME HEALTH CARE
  OF BROWARD COUNTY, INC.,

        Defendant.
  _______________________________/
                                                  COMPLAINT

            Plaintiff, DENISE PAYNE, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter "Plaintiff"), sues Defendants, MARKETPLACE AT

  TAMARAC, LLC., FORT LAUDERDALE CHOW TIME GRILL & BUFFET, INC., and

  ALTERNATIVE HOME HEALTH CARE OF BROWARD COUNTY, INC., and as grounds

  allege:

                                    JURISDICTION, PARTIES. AND VENUE

              1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

       litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the "Americans with

       Disabilities Act" or "ADA") and 28 U.S.C. §§ 2201 and 2202.

              2.         The Court has original jurisdiction over Plaintiff's claims arising under 42 U.S.C.

       § 12181, et seq. pursuant to 28 U.S.C. §§ 1331 and 1343.


              3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and

       2202, and may render declaratory judgment on the existence or nonexistence of any right under



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      42 U.S.C. § 12181, et seq.

             4.     Plaintiff, DENISE PAYNE, is an individual over eighteen years of age, residing

      and domiciled in Florida, and is otherwise sui juris.

             5.     At all times material, Defendant, MARKETPLACE AT TAMARAC, LLC., was

      and is a Florida Limited Liability Company, with its principal place of business in North Miami,

      Florida.

             6.     At all times material, Defendant, MARKETPLACE AT TAMARAC, LLC.,

      owned and operated a commercial shopping center at 6801-6997 W Commercial Blvd

      Tamarac, Florida 33319 (hereinafter the " Commercial Property") and conducted a substantial

      amount of business in that place of public accommodation in Tamarac, Florida.

             7.     At all times material, Defendant, FORT LAUDERDALE CHOW TIME GRILL

      & BUFFET, INC., was and is a Florida Limited Liability Company, with its principal place of

      business in North Miami, Florida.

             8.     At all times material, Defendant, FORT LAUDERDALE CHOW TIME GRILL

      & BUFFET, INC., owned and operated a restaurant located at 6997 W Commercial Blvd

      Tamarac, Florida 333191 (hereinafter the " Commercial Property") and conducted a substantial

      amount of business in that place of public accommodation in Tamarac, Florida. Defendant,

      FORT LAUDERDALE CHOW TIME GRILL & BUFFET, INC., holds itself out to the public

      as “Chow Time Grill & Buffet.”

             9.     At all times material, Defendant, ALTERNATIVE HOME HEALTH CARE OF

      BROWARD COUNTY, INC., was and is a Florida Limited Liability Company, with its

      principal place of business in North Miami, Florida.
             10.    At all times material, Defendant, ALTERNATIVE HOME HEALTH CARE OF



  1
   This address is located within the retail shopping center and place of public 6801-6997 W Commercial Blvd
  Tamarac, Florida 33319, owned and operated by landlord Defendant, MARKETPLACE AT TAMARAC, LLC.

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      BROWARD COUNTY, INC., owned and operated a commercial care center located at 6981

      W Commercial Blvd Tamarac, Florida 33319 2 (hereinafter the " Commercial Property") and

      conducted a substantial amount of business in that place of public accommodation in Tamarac,

      Florida. Defendant, ALTERNATIVE HOME HEALTH CARE OF BROWARD COUNTY,

      INC., holds itself out to the public as “Alternative Home Health.”

              11.    Venue is properly located in the Southern District of Florida because Defendant’s

      restaurant and the property within which it is on is located in Broward County, Florida, and

      Defendants regularly conduct business within Broward, Florida, and because a substantial

      part of the events or omissions giving rise to this claim occurred in Broward, Florida.

                                        FACTUAL ALLEGATIONS

           12.       Although nearly twenty years have passed since the effective date of Title III of

      the ADA, Defendant has yet to make its facilities accessible to individuals with disabilities.

           13.       Congress provided commercial businesses one and a half years to implement the

      Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the

      extensive publicity the ADA has received since 1990, Defendant continues to discriminate

      against people who are disabled in ways that block them from access and use of Defendant’s

      business.

           14.       The ADA prohibits discrimination on the basis of disability in 28 CFR

       36.201 and requires landlords and tenants to be liable for compliance.

            15.      Plaintiff, DENISE PAYNE, is an individual with disabilities as defined by and

  pursuant to the ADA. DENISE PAYNE uses a wheelchair to ambulate. DENISE PAYNE has very

  limited use of her hands and cannot operate any mechanisms which require tight grasping or


  2
   This address is located within the retail shopping center and place of public 6801-6997 W Commercial Blvd
  Tamarac, Florida 33319, owned and operated by landlord Defendant, MARKETPLACE AT TAMARAC, LLC.

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  twisting of the wrist. She is limited in his major life activities by such, including but not limited

  to walking, standing, grabbing, grasping and/or pinching.

         Defendant, MARKETPLACE AT TAMARAC, LLC., owns, operates and oversees the

  Commercial Property, its general parking lot and parking spots.

          16.      The subject Commercial property is open to the public and is located in Tamarac,

   Florida.

          17.      The individual Plaintiff visits the Commercial Property and businesses located

   within the Commercial Property, regularly, to include visits to the Commercial Property and

   businesses located within the Commercial Property on or about October 27, 2021, encountering

   multiple violations of the ADA that directly affected his ability to use and enjoy the Commercial

   Property and businesses located therein.       She often visits the Commercial Property and

   businesses located within the Commercial Property in order to avail herself of the goods and

   services offered there, and because it is approximately five (5) miles from her residence and is

   near other businesses and restaurants she frequents as a patron. She plans to return to the

   Commercial Property and the businesses located within the Commercial Property within two

   (2) months of the filing of this Complaint, specifically on March 7, 2022.

          18.      Plaintiff resides nearby in the same County and state as the Commercial Property

   and the businesses located within the Commercial Property, has regularly frequented the

   Defendants’ Commercial Property and the businesses located within the Commercial Property

   for the intended purposes because of the proximity to her residence and other businesses that he

   frequents as a patron, and intends to return to the Commercial Property and businesses located

   within the Commercial Property within two (2) months from the filing of this Complaint,

   specifically on March 7, 2022.



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          19.     The Plaintiff found the Commercial Property, and the businesses located within

   the Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

   barriers at the Commercial Property, and businesses located within the Commercial Property and

   wishes to continue his patronage and use of each of the premises.

          20.     The Plaintiff has encountered architectural barriers that are in violation of the

   ADA at the subject Commercial Property, and businesses located within the Commercial

   Property. The barriers to access at the Commercial Property, and the businesses located within

   the Commercial Property have each denied or diminished Plaintiff’s ability to visit the

   Commercial Property, and businesses located within the Commercial Property, and have

   endangered his safety in violation of the ADA. The barriers to access, which are set forth below,

   have likewise posed a risk of injury(ies), embarrassment, and discomfort to Plaintiff, DENISE

   PAYNE, and others similarly situated.

          21.     Defendants, MARKETPLACE AT TAMARAC, LLC., FORT LAUDERDALE

   CHOW TIME GRILL & BUFFET, INC., and ALTERNATIVE HOME HEALTH CARE OF

   BROWARD COUNTY, INC., own and/or operate a place of public accommodation as defined

   by the ADA and the regulations implementing the ADA, 28 CFR 36.201 (a) and 36.104.

   Defendants, MARKETPLACE AT TAMARAC, LLC., FORT LAUDERDALE CHOW TIME

   GRILL & BUFFET, INC., and ALTERNATIVE HOME HEALTH CARE OF BROWARD

   COUNTY, INC., are responsible for complying with the obligations of the ADA. The place of

   public accommodation that Defendants, MARKETPLACE AT TAMARAC, LLC., FORT

   LAUDERDALE CHOW TIME GRILL & BUFFET, INC., and ALTERNATIVE HOME

   HEALTH CARE OF BROWARD COUNTY, INC., own and/or operate the Commercial

   Property Businesses located at 6801-6997 W Commercial Blvd Tamarac, Florida 33319.



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          22.        Plaintiff, DENISE PAYNE, has a realistic, credible, existing and continuing

   threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

   described Commercial Property and the businesses located within the Commercial Property,

   including but not necessarily limited to the allegations in Counts I through III of this Complaint.

   Plaintiff has reasonable grounds to believe that he will continue to be subjected to discrimination

   at the Commercial Property, and businesses located within the Commercial Property, in violation

   of the ADA. Plaintiff desires to visit the Commercial Property and businesses located therein,

   not only to avail herself of the goods and services available at the Commercial Property, and

   businesses located within the Commercial Property, but to assure herself that the Commercial

   Property and businesses located within the Commercial Property are in compliance with the

   ADA, so that she and others similarly situated will have full and equal enjoyment of the

   Commercial Property, and businesses located within the Commercial Property without fear of

   discrimination.

          23.        Defendant, MARKETPLACE AT TAMARAC, LLC., as landlord and owner of

   the Commercial Property Business, is responsible for all ADA violations listed in Counts I

   through III. FORT LAUDERDALE CHOW TIME GRILL & BUFFET, INC., and

   ALTERNATIVE HOME HEALTH CARE OF BROWARD COUNTY, INC., as tenants and

   owners and/ operators of the businesses within the Commercial Property, are jointly and severally

   responsible and liable for all ADA violations listed in this Complaint.

          24.        Defendants have discriminated against the individual Plaintiff by denying him

   access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

   and/or accommodations of the Commercial Property, and businesses located within the

   Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.



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                                COUNT I – ADA VIOLATIONS
                          AS TO MARKETPLACE AT TAMARAC, LLC.

  25.      The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through 24 above

  as though fully set forth herein.

  26.      Defendant, MARKETPLACE AT TAMARAC, LLC., has discriminated, and continues to

  discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to have accessible

  facilities by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees and

  gross receipts of $500,000 or less). A list of the violations that Plaintiff encountered during his

  visit to the Commercial Property, include but are not limited to, the following:

        A. Parking

  i. The plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are

        located on an excessive slope. Violation: There are accessible parking spaces located on an

        excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA

        Standards, whose resolution is readily achievable.

  ii. The plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

        aisles are located on an excessive slope. Violation: There are accessible parking space access

        aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4

        of the 2010 ADA Standards, whose resolution is readily achievable.

        B. Entrance Access and Path of Travel

  i. The plaintiff had difficulty entering tenant spaces without assistance, as the required

        maneuvering clearance is not provided. Violation: The tenant entrance doors do not provide

        the required latch side clearance violating Section 4.13.6 of the ADAAG and Section 404.2.4

        of the 2010 ADA Standards, whose resolution is readily achievable.

  ii. The plaintiff had difficulty traversing the path of travel, as it was not continuous and accessible.


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        Violation: There are inaccessible routes between sections of the facility. These are violations

        of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and Sections 206.2.2,

        303, 402 and 403, whose resolution is readily achievable.

  iii. The plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess of

        2%. Violation: The path of travel contains excessive cross slopes in violation of Section 4.3.7

        of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is readily

        achievable.

  iv. The plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

        Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and 4.5.2

        of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is readily

        achievable.

  v. The plaintiff had difficulty traversing the path of travel, as it is not continuous and accessible.

        Violation: There are inaccessible routes from the public sidewalk and transportation stop.

        These are violations of the requirements in Sections 4.3.2(1), 4.3.8, 4.5.1, and 4.5.2 of the

        ADAAG and Sections 206.2.1, 302.1, 303, and 402.2 of the 2010 ADA Standards, whose

        resolution is readily achievable.

  vi. The plaintiff had difficulty using some of the curb ramps, as the slopes are excessive. Violation:

        There are curb ramps at the facility that contain excessive slopes, violating Section 4.7.2 of the

        ADAAG and Sections 405.2 and 406.1 of the 2010 ADA Standards, whose resolution is readily

        achievable.

                             COUNT II – ADA VIOLATIONS
                      AS TO MARKETPLACE AT TAMARAC, LLC. and
                  FORT LAUDERDALE CHOW TIME GRILL & BUFFET, INC.

  27.      The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through 24 above



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  as though fully set forth herein.

  28.      Defendants, MARKETPLACE AT TAMARAC, LLC. and FORT LAUDERDALE

  CHOW TIME GRILL & BUFFET, INC., have discriminated, and continues to discriminate,

  against Plaintiff in violation of the ADA by failing, inter alia, to have accessible facilities by January

  26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees and gross receipts of

  $500,000 or less). A list of the violations that Plaintiff encountered during his visit to the

  Commercial Property, include but are not limited to, the following:

        A. Public Restrooms

  i. There are permanently designated interior spaces without proper signage, violating Section

        4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards,

        whose resolution is readily achievable.

  ii. The plaintiff could not use the lavatory outside the accessible toilet compartment without

        assistance, as the required knee clearance is not provided. Violation: There are lavatories

        outside the accessible toilet compartment that don’t provide the required clearances violating

        Section 4.19.2 & Figure 31 of the ADAAG and Sections 213.3.4, 306.3, & 606.2 of the 2010

        ADA Standards, whose resolution is readily achievable.

  iii. The plaintiff could not use the accessible toilet compartment door without assistance, as it is

        not self-closing and does not have compliant door hardware. Violation: The accessible toilet

        compartment door does not provide hardware and features that comply with Sections 4.17.5

        and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards,

        whose resolution is readily achievable.

  iv. The plaintiff could not use the coat hook without assistance, as it is mounted too high.

        Violation: There are coat hooks provided for public use in the restroom, outside the reach



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         ranges prescribed in Sections 4.2.5, 4.2.6, and 4.25.3 of the ADAAG and Sections 308 and

         604.8.3 of the 2010 ADA Standards, whose resolution is readily achievable.

   v. The plaintiff could not transfer to the toilet without assistance, as a trashcan obstructs the clear

         floor space. Violation: The required clear floor space is not provided next to the toilet, violating

         Section 4.16.2 and Figure 28 of the ADAAG, 28 CFR 36.211, and Section 604.3 of the 2010

         ADA Standards, whose resolution is readily achievable.

   vi. The plaintiff could not use the soap dispenser without assistance, as it is mounted too high.

         Violation: There are dispensers provided for public use in the restroom, with controls outside

         the ranges prescribed in Sections 4.2.5, 4.2.6, and 4.27.3 of the ADAAG and Sections 308 &

         309.3 of the 2010 ADA Standards, whose resolution is readily achievable.

                           COUNT III – ADA VIOLATIONS
                    AS TO MARKETPLACE AT TAMARAC, LLC. and
             ALTERNATIVE HOME HEALTH CARE OF BROWARD COUNTY, INC.


   29.      The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through 24 above

   as though fully set forth herein.

   30.      Defendants, MARKETPLACE AT TAMARAC, LLC. and ALTERNATIVE HOME

   HEALTH CARE OF BROWARD COUNTY, INC., have discriminated, and continues to

   discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to have accessible

   facilities by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees and

   gross receipts of $500,000 or less). A list of the violations that Plaintiff encountered during his

   visit to the Commercial Property, include but are not limited to, the following:

         A. Access to Goods and Services

  i.     There are drinking fountains that don’t provide access to those who have difficulty bending or

         stooping. Violation: There are drinking fountains that are in violation of Section 4.1.3(10) of


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      the ADAAG and Sections 211.2 & 602.7 of the 2010 ADA Standards, whose resolution is

      readily achievable.

      B. Public Restrooms

 a.   The plaintiff could not transfer to the toilet without assistance, as the grab bars are not the

      required length. Violation: The grab bars do not comply with the requirements prescribed in

      Section 4.16.4 and Figure 29 of the ADAAG and Section 604.5 of the 2010 ADA Standards,

      whose resolution is readily achievable.

 b.   The plaintiff could not transfer to the toilet without assistance, as objects are mounted less than

      12” above a grab bar obstructing its use. Violation: The grab bars do not comply with the

      requirements prescribed in Sections 4.16.4 & 4.26 of the ADAAG and Section 609.3 of the

      2010 ADA Standards, whose resolution is readily achievable.

 c.   The plaintiff could not use the toilet paper dispenser without assistance, as it is not mounted at

      the required location. Violation: The toilet paper dispenser is not mounted in accordance with

      Section 4.16.6 and Figure 29 of the ADAAG and Section 604.7 of the 2010 ADA Standards,

      whose resolution is readily achievable.

 d.   The plaintiff could not use the paper towel dispenser without assistance, as it is mounted too

      high. Violation: There are dispensers provided for public use in the restroom, with controls

      outside the ranges prescribed in Sections 4.2.5, 4.2.6, and 4.27.3 of the ADAAG and Sections

      308 & 309.3 of the 2010 ADA Standards, whose resolution is readily achievable.

 e.   The plaintiff could not use the soap bottle without assistance as it requires a tight grasp to

      operate, and it can fall on the floor. Violation: The soap dispensers require a tight grasp to

      operate in violation of Section 4.27.4 of the ADAAG and Section 309.4 of the 2010 ADA

      Standards, whose resolution is readily achievable.



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 f.      The plaintiff could not use the mirror, as it is mounted too high. Violation: The mirrors

         provided in the restrooms are in violation of the requirements in Section 4.19.6 of the ADAAG

         and Section 603.3 of the 2010 ADA Standards, whose resolution is readily achievable.

                                    RELIEF SOUGHT AND THE BASIS

             31.     The discriminatory violations described in Counts I and II of this Complaint are not

      an exclusive list of the Defendants’ ADA violations. Plaintiff requests an inspection of the

      Defendants’ places of public accommodation in order to photograph and measure all of the

      discriminatory acts violating the ADA and barriers to access in conjunction with Rule 34 and

      timely notice. Plaintiff further requests to inspect any and all barriers to access that were concealed

      by virtue of the barriers' presence, which prevented Plaintiff, DENISE PAYNE, from further

      ingress, use, and equal enjoyment of the Commercial Business and businesses located within the

      Commercial Property; Plaintiff requests to be physically present at such inspection in conjunction

      with Rule 34 and timely notice. A complete list of the Subject Premises’ ADA violations, and the

      remedial measures necessary to remove same, will require an on-site inspection by Plaintiff’s

      representatives pursuant to Federal Rule of Civil Procedure 34.

             32.     The individual Plaintiff, and all other individuals similarly situated, have been

      denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

      privileges, benefits, programs and activities offered by Defendants, Defendants’ building(s),

      businesses and facilities; and has otherwise been discriminated against and damaged by the

      Defendants because of the Defendants’ ADA violations as set forth above. The individual

      Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

      damage without the immediate relief provided by the ADA as requested herein. In order to remedy

      this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of public



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   accommodation in order to determine all of the areas of non-compliance with the Americans with

   Disabilities Act.

          33.      Defendants have discriminated against the individual Plaintiff by denying her

   access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

   accommodations of its place of public accommodation or commercial facility, in violation of 42

   U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendants continue to

   discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

   modifications in policies, practices or procedures, when such modifications are necessary to afford

   all offered goods, services, facilities, privileges, advantages or accommodations to individuals with

   disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

   with a disability is excluded, denied services, segregated or otherwise treated differently than other

   individuals because of the absence of auxiliary aids and services.

          34.      Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

   clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all

   those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled

   to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §

   12205 and 28 CFR 36.505.

          35.      Defendants are required to remove the existing architectural barriers to the

   physically disabled when such removal is readily achievable for their place of public

   accommodation, The Plaintiff and all others similarly situated, will continue to suffer such

   discrimination, injury and damage without the immediate relief provided by the ADA as requested

   herein. In order to remedy this discriminatory situation, The Plaintiff requires an inspection of the

   Defendants’ place of public accommodation in order to determine all of the areas of non-



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   compliance with the Americans with Disabilities Act.

          36.     Notice to Defendants is not required as a result of the Defendants’ failure to cure

   the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

   and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

   or waived by the Defendants.

          37.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

   Plaintiff Injunctive Relief, including an order to alter the property where Defendants operates its

   businesses, located at and/or within the commercial property located at 6801-6997 W Commercial

   Blvd Tamarac, Florida 33319, the exterior areas, and the common exterior areas of the Commercial

   Property and businesses located within the Commercial Property, to make those facilities readily

   accessible and useable to the Plaintiff and all other mobility-impaired persons; or by closing the

   facility until such time as the Defendants cure the violations of the ADA.

                  WHEREFORE, The Plaintiff, DENISE PAYNE, respectfully requests that this

   Honorable Court issue (i) a Declaratory Judgment determining Defendants at the commencement

   of the subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act,

   42 U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants including an order to make all

   readily achievable alterations to the facilities; or to make such facilities readily accessible to and

   usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

   to make reasonable modifications in policies, practices or procedures, when such modifications

   are necessary to afford all offered goods, services, facilities, privileges, advantages or

   accommodations to individuals with disabilities; and by failing to take such steps that may be

   necessary to ensure that no individual with a disability is excluded, denied services, segregated or

   otherwise treated differently than other individuals because of the absence of auxiliary aids and



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   services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

   12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

   Title III of the Americans with Disabilities Act.

   Dated: January 7, 2022.


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                                                 By: ___/s/_Anthony J. Perez________
                                                        ANTHONY J. PEREZ
                                                        Florida Bar No.: 535451
                                                        BEVERLY VIRUES
                                                        Florida Bar No.: 123713




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